                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

  UNITED STATES OF AMERICA

                                                                    Case No. RDB-19-00528

                   vs.

   JUSTIN RYAN ESHENBAUGH

                         Defendant.


                  MOTION FOR LEAVE TO FILE SEALED MATERIALS

       Justin Eshenbaugh, by and through his attorney, Andrew C. White, hereby moves this

Honorable Court for leave to file a sentencing memorandum and exhibits under seal.

       As grounds for this motion, the defense states that the memorandum and exhibits contains

very sensitive information concerning the defendant’s and other person’s background and

medical/psychiatric information that should remain sealed from the public in order to protect the

privacy interests of the defendant and others.

 WHEREFORE, the defense requests that this Honorable Court grant its motion for leave to file

correspondence and exhibits under seal.


                                                 Respectfully Submitted,



                                                 ____________/S/___________________
                                                 Andrew C. White
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